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                                                                                       FILED
                                                                                     U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT ARKANSAS
                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS                              NOV 13 2014
                                WESTERN DIVISION
                                                                                                    DEPCLERK

UNITED STATES OF AMERICA                                                               PLAINTIFF

vs.                                CASE NO. 4:14cr00147-07 JLH

MARIA GARCIA                                                                        DEFENDANT


                                             ORDER

       The Defendant in the above-styled case is not well-versed in the English language and is

unable to understand and comprehend the proceedings being conducted. The Court therefore directs

that an interpreter be appointed, pursuant to Rule 28 of the Federal Rules of Criminal Procedure, to

enable the Defendant to communicate with and comprehend the presiding judicial officers and other

parties at any and all proceedings conducted in Court.

       IT IS ORDERED that the Clerk is to appoint a qualified interpreter to assist the Defendant,

counsel, and the Court at any and all court proceedings in this case.

       IT IS SO ORDERED this 13th day ofNovember, 2014.
